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                                                  UNITED STATES BANKRUPTCY COURT
                                            EASTERN DISTRICT OF VIRGINIA - NORFOLK DIVISION


                                                                        CHAPTER 13 PLAN
                                                                      AND RELATED MOTIONS

Name of Debtor(s):                   Tawanda Alicia Jackson                                  Case No: 19-73701-FJS

This plan, dated         October 15, 2019            , is:

                                the first Chapter 13 plan filed in this case.
                                a modified Plan, which replaces the
                                 confirmed or unconfirmed Plan dated              .

                                Date and Time of Modified Plan Confirmation Hearing:

                                Place of Modified Plan Confirmation Hearing:


                       The Plan provisions modified by this filing are:


                       Creditors affected by this modification are:

1. Notices
To Creditors:
Your rights may be affected by this plan. Your claim may be reduced, modified, or eliminated. You should read this plan
carefully and discuss it with your attorney if you have one in this bankruptcy case. If you do not have an attorney, you may
wish to consult one.

If you oppose the plan’s treatment of your claim or any provision of this plan, you or your attorney must file an objection to
confirmation at least 7 days before the date set for the hearing on confirmation, unless otherwise ordered by the Bankruptcy
Court.
(1) Richmond and Alexandria Divisions:
The Bankruptcy Court may confirm this plan without further notice if no objection to confirmation is filed.
(2) Norfolk and Newport News Divisions: a confirmation hearing will be held even if no objections have been filed.
    (a) A scheduled confirmation hearing will not be convened when:
         (1) an amended plan is filed prior to the scheduled confirmation hearing; or
         (2) a consent resolution to an objection to confirmation anticipates the filing of an amended plan and the objecting
         party removes the scheduled confirmation hearing prior to 3:00 pm on the last business day before the confirmation
         hearing.
In addition, you may need to file a timely proof of claim in order to be paid under any plan.

The following matters may be of particular importance.

Debtors must check one box on each line to state whether or not the plan includes each of the following items. If an item is
checked as “Not Included” or if both boxes are checked, the provision will be ineffective if set out later in the plan.
A.        A limit on the amount of a secured claim, set out in Section 4.A which may            Included        Not included
          result in a partial payment or no payment at all to the secured creditor
B.        Avoidance of a judicial lien or nonpossessory, nonpurchase-money                      Included         Not included
          security interest, set out in Section 8.A
C.        Nonstandard provisions, set out in Part 12                                            Included         Not included

2.         Funding of Plan. The debtor(s) propose to pay the Trustee the sum of $580.00 per month for 14 months, then $970.00 per
           month for 44 months.

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Other payments to the Trustee are as follows:
            The total amount to be paid into the Plan is $                50,800.00   .
3.         Priority Creditors. The Trustee shall pay allowed priority claims in full unless the creditor agrees otherwise.
           A.          Administrative Claims under 11 U.S.C. § 1326.
                       1.           The Trustee will be paid the percentage fee fixed under 28 U.S.C. § 586(e), not to exceed 10% of all sums
                                    received under the plan.
                       2.           Check one box:
       Debtor(s)’ attorney has chosen to be compensated pursuant to the “no-look” fee under Local Bankruptcy Rule 2016-1(C)(1)(a)
       and (C)(3)(a) and will be paid $ 4,311.00 , balance due of the total fee of $ 5,296.00 concurrently with or prior to the
       payments to remaining creditors.
       Debtor(s)' attorney has chosen to be compensated pursuant to Local Bankruptcy Rule 2016-1(C)(1)(c)(ii) and must submit
       applications for compensation as set forth in the Local Rules.
           B.          Claims under 11 U.S.C. § 507.
                       The following priority creditors will be paid by deferred cash payments pro rata with other priority creditors or in
                       monthly installments as below, except that allowed claims pursuant to 11 U.S.C. § 507(a)(1) will be paid pursuant to
                       3.C below:
Creditor                                      Type of Priority                        Estimated Claim                    Payment and Term
City of Portsmouth                            Taxes and certain other debts           500.00                             Prorata
                                                                                                                         21 months
Internal Revenue Service                      Taxes and certain other debts           9,242.00                           Prorata
                                                                                                                         21 months
           C.          Claims under 11 U.S.C. § 507(a)(1).
                       The following priority creditors will be paid prior to other priority creditors but concurrently with administrative
                       claims above.
Creditor                                      Type of Priority                        Estimated Claim                    Payment and Term
-NONE-


4.     Secured Creditors: Motions to Value Collateral (“Cramdown”), Collateral being Surrendered, Adequate Protection
Payments, and Payment of certain Secured Claims.
                       A.      Motions to Value Collateral (other than claims protected from “cramdown” by 11 U.S.C. §
                       1322(b)(2) or by the final paragraph of 11 U.S.C. § 1325(a)). Unless a written objection is timely filed with the
                       Court, the Court may grant the debtor(s)’ motion to value collateral as set forth herein.
           This section deals with valuation of certain claims secured by real and/or personal property, other than claims protected from
           “cramdown” by 11 U.S.C. § 1322(b)(2) [real estate which is debtor(s)’ principal residence] or by the final paragraph of 11
           U.S.C. § 1325(a) [motor vehicles purchased within 910 days or any other thing of value purchased within 1 year before filing
           bankruptcy], in which the replacement value is asserted to be less than the amount owing on the debt. Such debts will be
           treated as secured claims only to the extent of the replacement value of the collateral. That value will be paid with
           interest as provided in sub-section D of this section. You must refer to section 4(D) below to determine the interest
           rate, monthly payment and estimated term of repayment of any “crammed down” loan. The deficiency balance owed
           on such a loan will be treated as an unsecured claim to be paid only to the extent provided in section 5 of the Plan.
           The following secured claims are to be “crammed down” to the following values:

Creditor                                 Collateral                          Purchase Date              Est. Debt Bal.            Replacement Value
Ally Financial                           2013 Dodge Durango                  Opened 3/07/15 Last 20,674.00                        11,850.00
                                         135000 miles                        Active 8/19/19


           B.          Real or Personal Property to be Surrendered.
           Upon confirmation of the Plan, or before, the debtor(s) will surrender his/her/their interest in the collateral securing the claims
           of the following creditors in satisfaction of the secured portion of such creditors’ allowed claims. To the extent that the
           collateral does not satisfy the claim, any timely filed deficiency claim to which the creditor is entitled may be paid as a
           non-priority unsecured claim. Confirmation of the Plan shall terminate the automatic stay under §§ 362(a) and 1301(a) as to
                                                                        Page 2

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           the interest of the debtor(s), any co-debtor(s) and the estate in the collateral.
Creditor                                      Collateral Description              Estimated Value                Estimated Total Claim
-NONE-
           C.          Adequate Protection Payments.
           The debtor(s) propose to make adequate protection payments required by 11 U.S.C. § 1326(a) or otherwise upon claims
           secured by personal property, until the commencement of payments provided for in sections 4(D) and/or 7(B) of the Plan, as
           follows:
Creditor                                    Collateral                          Adeq. Protection Monthly Payment      To Be Paid By
Ally Financial                              2013 Dodge Durango 135000           125.00                                Trustee
                                            miles
           Any adequate protection payment upon an unexpired lease of personal property assumed by the debtor(s) pursuant to section
           7(B) of the Plan shall be made by the debtor(s) as required by 11 U.S.C. § 1326(a)(1)(B) (payments coming due after the
           order for relief).
           D.          Payment of Secured Claims on Property Being Retained (except those loans provided for in section 6 of the
                       Plan):
           This section deals with payment of debts secured by real and/or personal property [including short term obligations,
           judgments, tax liens and other secured debts]. After confirmation of the Plan, the Trustee will pay to the holder of each
           allowed secured claim, which will be either the balance owed on the indebtedness or, where applicable, the collateral’s
           replacement value as specified in sub-section A of this section, whichever is less, with interest at the rate provided below, the
           monthly payment specified below until the amount of the secured claim has been paid in full. Upon confirmation of the
           Plan, the valuation specified in sub-section A and interest rate shown below will be binding unless a timely written
           objection to confirmation is filed with and sustained by the Court.
Creditor                                 Collateral                            Approx. Bal. of Debt or    Interest Rate   Monthly Payment &
                                                                               "Crammed Down" Value                       Est. Term
Ally Financial                           2013 Dodge Durango 135000             11,850.00                  6.5%               291.73
                                         miles                                                                            49 months




           E.          Other Debts.
           Debts which are (i) mortgage loans secured by real estate which is the debtor(s)’ principal residence, or (ii) other long term
           obligations, whether secured or unsecured, to be continued upon the existing contract terms with any existing default in
           payments to be cured pursuant to 11 U.S.C. § 1322(b)(5), are provided for in section 6 of the Plan.
5.         Unsecured Claims.
           A.          Not separately classified. Allowed non-priority unsecured claims shall be paid pro rata from any distribution
                       remaining after disbursement to allowed secured and priority claims. Estimated distribution is
                       approximately 14 %. The dividend percentage may vary depending on actual claims filed. If this case were
                       liquidated under Chapter 7, the debtor(s) estimate that unsecured creditors would receive a dividend of
                       approximately 7.34 %.
           B.          Separately classified unsecured claims.
Creditor                                            Basis for Classification                        Treatment
-NONE-
6.       Mortgage Loans Secured by Real Property Constituting the Debtor(s)’ Principal Residence; Other Long Term
Payment Obligations, whether secured or unsecured, to be continued upon existing contract terms; Curing of any existing
default under 11 U.S.C. § 1322(b)(5).
                       A.        Debtor(s) to make regular contract payments; arrears, if any, to be paid by Trustee. The creditors
                       listed below will be paid by the debtor(s) pursuant to the contract without modification, except that arrearages, if
                       any, will be paid by the Trustee either pro rata with other secured claims or on a fixed monthly basis as indicated
                       below, without interest unless an interest rate is designated below for interest to be paid on the arrearage claim and
                       such interest is provided for in the loan agreement. A default on the regular contract payments on the debtor(s)
                       principal residence is a default under the terms of the plan.

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Creditor                                 Collateral                       Regular           Estimated      Arrearage     Estimated Cure       Monthly
                                                                          Contract          Arrearage      Interest Rate Period               Arrearage
                                                                          Payment                                                             Payment
Mr. Cooper                               6001 Arthur Ave                  1,365.00          0.00           0%             0months
                                         Portsmouth, VA
                                         23703 Portsmouth
                                         City County
           B.          Trustee to make contract payments and cure arrears, if any. The Trustee shall pay the creditors listed below the
                       regular contract monthly payments that come due during the period of this Plan, and pre-petition arrearages on such
                       debts shall be cured by the Trustee either pro rata with other secured claims or with monthly payments as set forth
                       below.
Creditor                             Collateral                              Regular Contract      Estimated         Interest Rate Monthly Payment on
                                                                             Payment               Arrearage         on Arrearage Arrearage & Est. Term
-NONE-


           C.          Restructured Mortgage Loans to be paid fully during term of Plan. Any mortgage loan against real estate
                       constituting the debtor(s)’ principal residence upon which the last scheduled contract payment is due before the final
                       payment under the Plan is due shall be paid by the Trustee during the term of the Plan as permitted by 11 U.S.C. §
                       1322(c)(2) with interest at the rate specified below as follows:
Creditor                                    Collateral                               Interest Rate Estimated Claim           Monthly Payment & Term
-NONE-



7.       Unexpired Leases and Executory Contracts. The debtor(s) move for assumption or rejection of the executory contracts,
leases and/or timeshare agreements listed below.
                       A.       Executory contracts and unexpired leases to be rejected. The debtor(s) reject the following executory
                       contracts:
Creditor                                              Type of Contract
-NONE-

           B.          Executory contracts and unexpired leases to be assumed. The debtor(s) assume the following executory
                       contracts. The debtor(s) agree to abide by all terms of the agreement. The Trustee will pay the pre-petition
                       arrearages, if any, through payments made pro rata with other priority claims or on a fixed monthly basis as indicated
                       below.

Creditor                                    Type of Contract                     Arrearage                 Monthly Payment for Estimated Cure Period
                                                                                                           Arrears
Progressive Leasing                         Contract                                                0.00                          0months
Sprint                                      Contract                                                0.00                          0months
Tempoe                                      Contract                                                0.00                          0months
8.         Liens Which Debtor(s) Seek to Avoid.
           A.          The debtor(s) move to avoid liens pursuant to 11 U.S.C. § 522(f). The debtor(s) move to avoid the following
                       judicial liens and non-possessory, non-purchase money liens that impair the debtor(s)’ exemptions. Unless a written
                       objection is timely filed with the Court, the Court may grant the debtor(s)’ motion and cancel the creditor’s
                       lien. If an objection is filed, the Court will hear evidence and rule on the motion at the confirmation hearing.
Creditor                                    Collateral                           Exemption Basis           Exemption Amount       Value of Collateral
-NONE-


           B.          Avoidance of security interests or liens on grounds other than 11 U.S.C. § 522(f). The debtor(s) have filed or
                       will file and serve separate adversary proceedings to avoid the following liens or security interests. The creditor
                       should review the notice or summons accompanying such pleadings as to the requirements for opposing such relief.
                       The listing here is for information purposes only.
Creditor                                    Type of Lien                        Description of Collateral               Basis for Avoidance

                                                                                       Page 4

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Creditor                                     Type of Lien                      Description of Collateral             Basis for Avoidance
-NONE-
9.          Treatment and Payment of Claims.
      •     All creditors must timely file a proof of claim to receive any payment from the Trustee.
      •     If a claim is scheduled as unsecured and the creditor files a claim alleging the claim is secured but does not timely object to
            confirmation of the Plan, the creditor may be treated as unsecured for purposes of distribution under the Plan. This paragraph
            does not limit the right of the creditor to enforce its lien, to the extent not avoided or provided for in this case, after the
            debtor(s) receive a discharge.
      •     If a claim is listed in the Plan as secured and the creditor files a proof of claim alleging the claim is unsecured, the creditor
            will be treated as unsecured for purposes of distribution under the Plan.
      •     The Trustee may adjust the monthly disbursement amount as needed to pay an allowed secured claim in full.
      •     If relief from the automatic stay is ordered as to any item of collateral listed in the plan, then, unless otherwise ordered by the
            court, all payments as to that collateral will cease, and all secured claims based on that collateral will no longer be treated by
            the plan.
      •     Unless otherwise ordered by the Court, the amount of the creditor’s total claim listed on the proof of claim controls over any
            contrary amounts listed in the plan.
10.         Vesting of Property of the Estate. Property of the estate shall revest in the debtor(s) upon confirmation of the Plan.
            Notwithstanding such vesting, the debtor(s) may not transfer, sell, refinance, encumber real property or enter into a mortgage
            loan modification without approval of the Court after notice to the Trustee, any creditor who has filed a request for notice and
            other creditors to the extent required by the Local Rules of this Court.
11.         Incurrence of indebtedness. The debtor(s) shall not voluntarily incur additional indebtedness exceeding the cumulative total
            of $5,000 principal amount during the term of this Plan, whether unsecured or secured, except upon approval of the Court
            after notice to the Trustee, any creditor who has filed a request for notice, and other creditors to the extent required by the
            Local Rules of this Court.
12.         Nonstandard Plan Provisions

               None. If "None" is checked, the rest of Part 12 need not be completed or reproduced.

Dated:        October 15, 2019

/s/ Tawanda Alicia Jackson                                                                          /s/ Edrie A. Pfeiffer
Tawanda Alicia Jackson                                                                              Edrie A. Pfeiffer 41791
Debtor                                                                                              Debtor's Attorney
            By filing this document, the Attorney for Debtor(s) or Debtor(s) themselves, if not represented by an attorney, also certify(ies)
            that the wording and order of the provisions in this Chapter 13 plan are identical to those contained in the Local Form Plan,
            other than any nonstandard provisions included in Part 12.
Exhibits:               Copy of Debtor(s)’ Budget (Schedules I and J); Matrix of Parties Served with Plan


                                                                           Certificate of Service
I certify that on        October 15, 2019            , I mailed a copy of the foregoing to the creditors and parties in interest on the attached Service
List.

                                                                                                    /s/ Edrie A. Pfeiffer
                                                                                                    Edrie A. Pfeiffer 41791
                                                                                                    Signature

                                                                                                    372 S. Independence Blvd.
                                                                                                    Suite 109
                                                                                                    Virginia Beach, VA 23452
                                                                                                    Address

                                                                                                    (757) 340-3100

                                                                                    Page 5

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                                                                                               Telephone No.

                                                CERTIFICATE OF SERVICE PURSUANT TO RULE 7004
I hereby certify that on         October 15, 2019             true copies of the forgoing Chapter 13 Plan and Related Motions were served upon the
following creditor(s):
Ally Financial
Attn: Bankruptcy Dept
Po Box 380901
Bloomington, MN 55438

Ally Financial
R/A CT Corporation System
4701 Cox Rd., Ste. 285
Glen Allen, VA 23060

  by first class mail in conformity with the requirements of Rule 7004(b), Fed.R.Bankr.P.; or
 by certified mail in conformity with the requirements of Rule 7004(h), Fed.R.Bankr.P

                                                                                               /s/ Edrie A. Pfeiffer
                                                                                               Edrie A. Pfeiffer 41791




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Fill in this information to identify your case:

Debtor 1                      Tawanda Alicia Jackson

Debtor 2
(Spouse, if filing)

United States Bankruptcy Court for the:       EASTERN DISTRICT OF VIRGINIA - NORFOLK
                                              DIVISION

Case number               19-73701-FJS                                                                 Check if this is:
(If known)
                                                                                                           An amended filing
                                                                                                           A supplement showing postpetition chapter
                                                                                                           13 income as of the following date:

Official Form 106I                                                                                         MM / DD/ YYYY
Schedule I: Your Income                                                                                                                           12/15
Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equally responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include information about your
spouse. If you are separated and your spouse is not filing with you, do not include information about your spouse. If more space is needed,
attach a separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Part 1:               Describe Employment

1.     Fill in your employment
       information.                                                Debtor 1                                   Debtor 2 or non-filing spouse

       If you have more than one job,                                Employed                                   Employed
       attach a separate page with           Employment status
                                                                     Not employed                               Not employed
       information about additional
       employers.
                                             Occupation            Customer Service Supervisor
       Include part-time, seasonal, or
       self-employed work.                   Employer's name       WPS Health Solutions

       Occupation may include student        Employer's address
                                                                   400 Butler Farm Road
       or homemaker, if it applies.                                Hampton, VA 23666

                                             How long employed there?         Rehired 9/23/2019

Part 2:               Give Details About Monthly Income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 in the space. Include your non-filing
spouse unless you are separated.

If you or your non-filing spouse have more than one employer, combine the information for all employers for that person on the lines below. If you need
more space, attach a separate sheet to this form.

                                                                                                     For Debtor 1          For Debtor 2 or
                                                                                                                           non-filing spouse

       List monthly gross wages, salary, and commissions (before all payroll
2.     deductions). If not paid monthly, calculate what the monthly wage would be.         2.    $        4,829.00         $            N/A

3.     Estimate and list monthly overtime pay.                                             3.   +$              0.00       +$           N/A

4.     Calculate gross Income. Add line 2 + line 3.                                        4.    $      4,829.00               $      N/A




Official Form 106I                                                      Schedule I: Your Income                                                page 1
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Debtor 1   Tawanda Alicia Jackson                                                                Case number (if known)   19-73701-FJS


                                                                                                  For Debtor 1            For Debtor 2 or
                                                                                                                          non-filing spouse
     Copy line 4 here                                                                     4.      $         4,829.00      $             N/A

5.   List all payroll deductions:
     5a.    Tax, Medicare, and Social Security deductions                                 5a.     $           386.00      $               N/A
     5b.    Mandatory contributions for retirement plans                                  5b.     $             0.00      $               N/A
     5c.    Voluntary contributions for retirement plans                                  5c.     $           290.00      $               N/A
     5d.    Required repayments of retirement fund loans                                  5d.     $             0.00      $               N/A
     5e.    Insurance                                                                     5e.     $           124.00      $               N/A
     5f.    Domestic support obligations                                                  5f.     $             0.00      $               N/A
     5g.    Union dues                                                                    5g.     $             0.00      $               N/A
     5h.    Other deductions. Specify:                                                    5h.+    $             0.00 +    $               N/A
6.   Add the payroll deductions. Add lines 5a+5b+5c+5d+5e+5f+5g+5h.                       6.     $            800.00      $               N/A
7.   Calculate total monthly take-home pay. Subtract line 6 from line 4.                  7.     $          4,029.00      $               N/A
8.   List all other income regularly received:
     8a. Net income from rental property and from operating a business,
            profession, or farm
            Attach a statement for each property and business showing gross
            receipts, ordinary and necessary business expenses, and the total
            monthly net income.                                                           8a.     $              0.00     $               N/A
     8b. Interest and dividends                                                           8b.     $              0.00     $               N/A
     8c. Family support payments that you, a non-filing spouse, or a dependent
            regularly receive
            Include alimony, spousal support, child support, maintenance, divorce
            settlement, and property settlement.                                          8c.     $             0.00      $               N/A
     8d. Unemployment compensation                                                        8d.     $             0.00      $               N/A
     8e. Social Security                                                                  8e.     $           953.00      $               N/A
     8f.    Other government assistance that you regularly receive
            Include cash assistance and the value (if known) of any non-cash assistance
            that you receive, such as food stamps (benefits under the Supplemental
            Nutrition Assistance Program) or housing subsidies.
            Specify:                                                                      8f.  $                 0.00   $                 N/A
     8g. Pension or retirement income                                                     8g. $                  0.00   $                 N/A
     8h. Other monthly income. Specify:                                                   8h.+ $                 0.00 + $                 N/A

9.   Add all other income. Add lines 8a+8b+8c+8d+8e+8f+8g+8h.                             9.     $            953.00      $               N/A

10. Calculate monthly income. Add line 7 + line 9.                                    10. $           4,982.00 + $             N/A = $          4,982.00
    Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.
11. State all other regular contributions to the expenses that you list in Schedule J.
    Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and
    other friends or relatives.
    Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.
    Specify:                                                                                                                 11. +$                 0.00

12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
    Write that amount on the Summary of Schedules and Statistical Summary of Certain Liabilities and Related Data, if it
    applies                                                                                                                     12.   $         4,982.00
                                                                                                                                      Combined
                                                                                                                                      monthly income
13. Do you expect an increase or decrease within the year after you file this form?
          No.
          Yes. Explain:




Official Form 106I                                                    Schedule I: Your Income                                                    page 2
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Fill in this information to identify your case:

Debtor 1                  Tawanda Alicia Jackson                                                             Check if this is:
                                                                                                                 An amended filing
Debtor 2                                                                                                         A supplement showing postpetition chapter
(Spouse, if filing)                                                                                              13 expenses as of the following date:

United States Bankruptcy Court for the:    EASTERN DISTRICT OF VIRGINIA -                                             MM / DD / YYYY
                                           NORFOLK DIVISION

Case number           19-73701-FJS
(If known)




Official Form 106J
Schedule J: Your Expenses                                                                                                            12/15
Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. On the top of any additional pages, write your name and case
number (if known). Answer every question.

Part 1:   Describe Your Household
1. Is this a joint case?
         No. Go to line 2.
         Yes. Does Debtor 2 live in a separate household?
                      No
                      Yes. Debtor 2 must file Official Form 106J-2, Expenses for Separate Household of Debtor 2.

2.    Do you have dependents?               No
      Do not list Debtor 1                  Yes.    Fill out this information for   Dependent’s relationship to          Dependent’s     Does dependent
      and Debtor 2.                                 each dependent..............    Debtor 1 or Debtor 2                 age             live with you?

      Do not state the                                                                                                                    No
      dependents names.                                                             Daughter                             1                Yes
                                                                                                                                          No
                                                                                    Son                                  3                Yes
                                                                                                                                          No
                                                                                    Daughter                             16               Yes
                                                                                                                                          No
                                                                                                                                          Yes
3.    Do your expenses include                     No
      expenses of people other than
      yourself and your dependents?                Yes

Part 2:    Estimate Your Ongoing Monthly Expenses
Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know
the value of such assistance and have included it on Schedule I: Your Income
(Official Form 106I.)                                                                                                         Your expenses


4.    The rental or home ownership expenses for your residence. Include first mortgage
      payments and any rent for the ground or lot.                                                           4. $                             1,365.00

      If not included in line 4:

      4a. Real estate taxes                                                                                 4a.   $                              0.00
      4b. Property, homeowner’s, or renter’s insurance                                                      4b.   $                              0.00
      4c. Home maintenance, repair, and upkeep expenses                                                     4c.   $                             75.00
      4d. Homeowner’s association or condominium dues                                                       4d.   $                              0.00
5.    Additional mortgage payments for your residence, such as home equity loans                             5.   $                              0.00




Official Form 106J                                                    Schedule J: Your Expenses                                                           page 1
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Debtor 1     Tawanda Alicia Jackson                                                                     Case number (if known)       19-73701-FJS

6.    Utilities:
      6a. Electricity, heat, natural gas                                                    6a. $                                                    265.00
      6b. Water, sewer, garbage collection                                                  6b. $                                                    124.00
      6c. Telephone, cell phone, Internet, satellite, and cable services                    6c. $                                                    295.00
      6d. Other. Specify:                                                                   6d. $                                                      0.00
7.    Food and housekeeping supplies                                                          7. $                                                   575.00
8.    Childcare and children’s education costs                                                8. $                                                   520.00
9.    Clothing, laundry, and dry cleaning                                                     9. $                                                   115.00
10.   Personal care products and services                                                   10. $                                                     20.00
11.   Medical and dental expenses                                                           11. $                                                    100.00
12.   Transportation. Include gas, maintenance, bus or train fare.
      Do not include car payments.                                                          12. $                                                    160.00
13.   Entertainment, clubs, recreation, newspapers, magazines, and books                    13. $                                                     20.00
14.   Charitable contributions and religious donations                                      14. $                                                     20.00
15.   Insurance.
      Do not include insurance deducted from your pay or included in lines 4 or 20.
      15a. Life insurance                                                                  15a. $                                                      0.00
      15b. Health insurance                                                                15b. $                                                      0.00
      15c. Vehicle insurance                                                               15c. $                                                    205.00
      15d. Other insurance. Specify:                                                       15d. $                                                      0.00
16.   Taxes. Do not include taxes deducted from your pay or included in lines 4 or 20.
      Specify: Auto Personal Property Tax + Tags + Inspection, Pro-Rata                     16. $                                                       1.00
17.   Installment or lease payments:
      17a. Car payments for Vehicle 1                                                      17a. $                                                      0.00
      17b. Car payments for Vehicle 2                                                      17b. $                                                      0.00
      17c. Other. Specify: Tempoe Rent to Own                                              17c. $                                                     87.00
      17d. Other. Specify: Progressive Leasing                                             17d. $                                                    307.00
18.   Your payments of alimony, maintenance, and support that you did not report as
      deducted from your pay on line 5, Schedule I, Your Income (Official Form 106I).       18. $                                                       0.00
19.   Other payments you make to support others who do not live with you.                        $                                                      0.00
      Specify:                                                                              19.
20.   Other real property expenses not included in lines 4 or 5 of this form or on Schedule I: Your Income.
      20a. Mortgages on other property                                                     20a. $                                                      0.00
      20b. Real estate taxes                                                               20b. $                                                      0.00
      20c. Property, homeowner’s, or renter’s insurance                                    20c. $                                                      0.00
      20d. Maintenance, repair, and upkeep expenses                                        20d. $                                                      0.00
      20e. Homeowner’s association or condominium dues                                     20e. $                                                      0.00
21.   Other: Specify:    Misc Contingent Expenses                                           21. +$                                                   148.00
22. Calculate your monthly expenses
    22a. Add lines 4 through 21.                                                                                       $                       4,402.00
    22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2                               $
      22c. Add line 22a and 22b. The result is your monthly expenses.                                                  $                       4,402.00
23. Calculate your monthly net income.
    23a. Copy line 12 (your combined monthly income) from Schedule I.                                        23a. $                               4,982.00
    23b. Copy your monthly expenses from line 22c above.                                                     23b. -$                              4,402.00

      23c. Subtract your monthly expenses from your monthly income.
           The result is your monthly net income.                                                            23c. $                                  580.00

24. Do you expect an increase or decrease in your expenses within the year after you file this form?
      For example, do you expect to finish paying for your car loan within the year or do you expect your mortgage payment to increase or decrease because of a
      modification to the terms of your mortgage?
        No.
        Yes.              Explain here: Amount paid for child care is balance after children's father pays his part of daycare per
                          verbal agreement.

                          The lease payments will end in October and December 2020.




Official Form 106J                                                  Schedule J: Your Expenses                                                                     page 2
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Tawanda Case
         Alicia 19-73701-FJS
                Jackson            Doc 12Office
                                             Filed
                                                 of 10/15/19   Entered 10/15/19 09:06:15
                                                    the U.S. Trustee            Virginia DeptDesc Main
                                                                                              of Taxation
6001 Arthur Ave                           Document
                                         Federal           Page 625
                                                  Building Room  11 of 13       PO Box 2156
Portsmouth, VA 23703                      200 Granby Street                      Richmond, VA 23218-2156
                                          Norfolk, VA 23510
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Internal Revenue Service                  Experian                               Ally Financial
Centralized Insolvency Operation          955 American Lane                      Attn: Bankruptcy Dept
P.O. Box 7346                             Schaumburg, IL 60173                   Po Box 380901
Philadelphia, PA 19101-7346                                                      Bloomington, MN 55438


Ally Financial                            Applied Business Services              Asset Recovery Solutions
R/A CT Corporation System                 PO Box 910                             2200 E. Devon Ave. Ste 200
4701 Cox Rd., Ste. 285                    Edenton, NC 27932-0910                 Des Plaines, IL 60018
Glen Allen, VA 23060


Atlantic Anesthesia Inc                   Barclay Bank                           BayPort FCU
PO Box 791207                             General Correspondence                 3711 Huntington Avenue
Baltimore, MD 21279                       Card Services                          Newport News, VA 23607
                                          PO Box 8801
                                          Wilmington, DE 19899-8801

Bayview Physicians Group                  Capital One Bank                       Chesapeake General District Court
PO Box 7068                               1680 Capital One Dr                    Civil Division
Portsmouth, VA 23707-0068                 Mc Lean, VA 22102-3491                 307 Albemarle Drive Ste 200B
                                                                                 Chesapeake, VA 23322


Chesapeake Hospital Authority             Childrens Specialty Group PLLC         CHKD
736 N Battlefield Blvd.                   P. O. Box 79137                        601 Childrens Lane
Chesapeake, VA 23320                      Baltimore, MD 21279-0137               Norfolk, VA 23507




Citi Shared Services                      City of Portsmouth                     CMG -Tidewater Children's Assoc
3800 Citigroup Center Drive               City Treasurer                         171 Kempsville Rd., Bldg B
Tampa, FL 33610                           801 Crawford St.                       Norfolk, VA 23502
                                          Portsmouth, VA 23704


Comenity Bank                             Convergent Outsourcing                 Cox Communications
PO Box 18125                              PO Box 9004                            P.O.Box 9001087
Columbus, OH 43218                        Renton, WA 98057                       Louisville, KY 40290




Credit Control Corp                       Credit One Bank                        Department of Education/Nelnet
PO Box 120568                             Attn: Bankruptcy Department            Attn: Claims
Newport News, VA 23612-0568               Po Box 98873                           Po Box 82505
                                          Las Vegas, NV 89193                    Lincoln, NE 68501


Deptartment Store National Bank/Macy's    Drive ERT                              Emergency Phys of Tidewater
Attn: Bankruptcy                          700 Port Centre Parkway Ste. 2B        Administrative Office
9111 Duke Boulevard                       Portsmouth, VA 23704                   4092 Foxwood Drive
Mason, OH 45040                                                                  Suite 101
                                                                                 Virginia Beach, VA 23462
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Emergency  Case
              Phys19-73701-FJS
                   of Tidewater   Doc 12Emergency
                                           Filed 10/15/19   Entered 10/15/19 09:06:15
                                                   Phys of Tidewater         EVMS        Desc Main
Billing Office                           Document
                                        R/A             Page 12 of 13
                                            Allan G. Donn                    Health Services
P.O. Box 7549                            Wilcox & Savage PC                  PO Box 936
Portsmouth, VA 23707                     440 Monticello Ave., Ste 2200       Norfolk, VA 23501
                                         Norfolk, VA 23510

First Premier Bank                       First Savings Credit Card           Greenbrier Ob/Gyn
Attn: Bankruptcy                         Attn: Bankruptcy Department         713 Volvo Parkway
Po Box 5524                              Po Box 5019                         Chesapeake, VA 23320
Sioux Falls, SD 57117                    Sioux Falls, SD 57117


Howard Gould                             HSBC Bank Nevada N.A.               Linebarger Goggan Blair & Sampso
14 West Mellen Street                    1111 N Town Center Dr               4828 Loop Central Drive, Suite 600
PO Box 3231                              Las Vegas, NV 89144                 Houston, TX 77081
Hampton, VA 23663


Maryview Medical Center                  Merrick Bank                        Midland Funding
P.O. Box 277199                          Customer Service                    2365 Northsider Dr Ste 300
Atlanta, GA 30384-7199                   P.O. Box 9201                       San Diego, CA 92108
                                         Old Bethpage, NY 11804-9001


Midland Funding LLC                      Mr. Cooper                          My Eye Dr.
PO Box 3400                              Attn: Bankruptcy                    1950 Old Gallows Road, Ste. 520
Norfolk, VA 23514                        8950 Cypress Waters Blvd            Vienna, VA 22182
                                         Coppell, TX 75019


N AR                                     Navy FCU                            Nephrology Associates
1600 West 2200 South,Ste. 410            Attn: Bankruptcy Dept               6160 Kempsville Road
Salt Lake City, UT 84119                 Po Box 3000                         Norfolk, VA 23502
                                         Merrifield, VA 22119


Patient First                            Portfolio Recovery                  Portsmouth General District Court
PO Box 758941                            Attn: Bankruptcy                    Civil Division
Baltimore, MD 21275                      120 Corporate Blvd                  1345 Court Street
                                         Norfold, VA 23502                    P. O. Box 129
                                                                             Portsmouth, VA 23705-0129

Progressive Leasing                      Radius Global Solution              Sentara
256 West Data Dr                         ATTN: Bankruptcy                    PO Box 791168
Draper, UT 84020                         7931 Glenroy Rd, Ste 250            Baltimore, MD 21279-1168
                                         Edina, MN 55439


Sequium Molecular                        Shapiro & Brown, LLP                Shapiro And Brown
PO Box 447                               501 Independence Pkwy, Ste. 203     PO box 9052
Norwood, MA 02062                        Chesapeake, VA 23320                Temecula, CA 92589




Sprint                                   Synchrony Bank                      Tempoe
6200 Sprint Pkwy                         PO Box 965004                       720 E Pete Rose Way, Ste. 400
Overland Park, KS 66251                  Orlando, FL 32896-5004              Cincinnati, OH 45202
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Tiffany & Case   19-73701-FJS
           Tiffany, PLLC         Doc 12University
                                          Filed 10/15/19
                                                  of Phoenix Entered 10/15/19 09:06:15   DescStore
                                                                              Visa Department MainNational Ba
770 Independence Circle                 Document
                                       4615  E Elwood StPage 13 of 13         Macy's
Suite 200                               FL 3                                 PO box 8053
Virginia Beach, VA 23455                Phoenix, AZ 85040                    Mason, OH 45040
